Case 1:19-cv-07346-AJN-KNF Document 15 Filed 09/05/19 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

 HELEEN MEES,                                         ORDER

                                    Plaintiff,        19 Civ. 7346 (AJN) ( l < / V ~


                     -against-                                  ~    ......
CITY OF NEW YORI<, MANHATIAN
DISTRICT ATTORNEY'S OFFICE,
CYRUS R. VANCE,JR., NITIN SAVUR,
JEANINE LAUNAY, SAMANTHA
SCHOTT,

                                 Defendants.


       UPON THE APPLICATION of defendant Manhattan District Attorney's

Office and the individually-named defendants employed by the New York County

District Attorney's Office for the unsealing of records pertaining to the July 1, 2013

arrest and prosecution of plaintiff Heleen Mees under New York County Criminal

Court Docket No. 2013NY050589, which is protected by New York Criminal

Procedural Law §§160.50 and 160.55·

       IT APPEARING that ~onnation sought by defendants is material and

relevant to the above-captioned civil action currently pending in the Southern District
                                                              d.-ef<11.d-ec~
of New York brought by plaintiff Heleen Mees and being de£ea.~ b~istrict



::::~:~:::::::::::::::~
                                            1
z::.c•~aoly
Case 1:19-cv-07346-AJN-KNF Document 15 Filed 09/05/19 Page 2 of 2


                                                   do ot<kJ: production of do01meots sealed

                           ' . v.~. . .
         IT IS HEREBY ORDERED that the following records pertaining to the July

1, 2013 arrest and prosecution of plaintiff Heleen Mees under New York County                           -~
                                                       ; _ ( 1,,, .fu. -11-t.-- e-lA., e6✓-<- e f w "J :J~
Criminal Court Docket No. 2013NY050589 are unseale .pnn;uant to New ¥01k

Crimia.al Pfecedttfe Law §§160.50 and 160.5§:aJJd ma~de available for use in this

civil action: (1) documents and/ or files in the custody of the New York City Police

Department; (2) documents and/ or files in the custody of the New York County

District Attorney's Office; (3) documents and/ or files in the custody of the Supreme,

Criminal Courts, and/ or Family Courts of the State of New York; (4) documents

and/ or files in the custody of the New York City Department of Corrections; and (5)
                       S·uv(e,Jl. p"'-r~ f7> N-(,w t/nfl Cri ~ rl)t-ek.-"' 1.-a.w ~f f r.o, <&1 ~ti /t:,o.
any other documents in e possession o any

individual relating to the above;

         IT IS FURTHER ORDERED that the aforementioned records shall be




end of the litigation.


Dated:           New York, New York
                 5-< ,.-f-1,,,,.he ✓ r, 2019
                    I




                                                  2       HON. KEVIN NATHANIEL FOX
                                                           United States Magistrate Judge
                                                            Southern District of New York
